Case 3:17-cv-00072-NKM-JCH Document 1007 Filed 08/12/21 Page 1 of 6 Pageid#: 17041




                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, THOMAS BAKER
    and JOHN DOE,
                          Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES       Civil Action No. 3:17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                           Defendants.

       PLAINTIFFS’ MOTION TO SEAL CERTAIN EXHIBITS TO PLAINTIFFS’
      SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
      MOTION FOR SANCTIONS AGAINST DEFENDANT MATTHEW HEIMBACH
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            On August 11, 2021, Plaintiffs filed a Supplemental Memorandum of Law in Support of

   Plaintiffs’ Motion for Sanctions Against Defendant Matthew Heimbach (the “Supplemental

   Memorandum”). ECF 1005. Plaintiffs hereby respectfully request that the Court enter the enclosed

   proposed order sealing an unredacted version of Exhibit 1, Exhibit 6, and Exhibit 17 to Plaintiffs’

   Supplemental Memorandum, which were submitted conditionally under seal today in this matter.

            Exhibit 1 (unredacted) contains Highly Confidential Information as defined by the Order

   for the Production of Documents and Exchange of Confidential Information on January 3, 2018,

   ECF 167 (the “Protective Order”).

            Exhibit 6 was designated Highly Confidential by Matthew Heimbach pursuant to

   Protective Order.

            Exhibit 17 was designated Highly Confidential by T-Mobile pursuant to the Protective

   Order.

            Although Plaintiffs reserve their right to challenge all confidentiality designations, for the

   reasons set forth herein, Plaintiffs request that Exhibits 1, 6 and 17 to Plaintiffs’ Motion to Compel

   be sealed in accordance with Local Rule 9.




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   Date: August 12, 2021

                                            Respectfully submitted,



                                            Roberta A. Kaplan (pro hac vice)
                                            Julie E. Fink (pro hac vice)
                                            Gabrielle E. Tenzer (pro hac vice)
                                            Michael L. Bloch (pro hac vice)
                                            Yotam Barkai (pro hac vice)
                                            Emily C. Cole (pro hac vice)
                                            Alexandra K. Conlon (pro hac vice)
                                            Jonathan R. Kay (pro hac vice)
                                            Benjamin D. White (pro hac vice)
                                            KAPLAN HECKER & FINK LLP
                                            350 Fifth Avenue, Suite 7110
                                            New York, NY 10118
                                            Telephone: (212) 763-0883
                                            rkaplan@kaplanhecker.com
                                            jfink@kaplanhecker.com
                                            gtenzer@kaplanhecker.com
                                            mbloch@kaplanhecker.com
                                            ybarkai@kaplanhecker.com
                                            ecole@kaplanhecker.com
                                            aconlon@kaplanhecker.com
                                            jkay@kaplanhecker.com
                                            bwhite@kaplanhecker.com

                                            Counsel for Plaintiffs




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         Of Counsel:


    Robert T. Cahill (VSB 38562)                  Karen L. Dunn (pro hac vice)
    COOLEY LLP                                    William A. Isaacson (pro hac vice)
    11951 Freedom Drive, 14th Floor               Jessica Phillips (pro hac vice)
    Reston, VA 20190-5656                         PAUL WEISS RIFKIND WHARTON &
    Telephone: (703) 456-8000                     GARRISON LLP
    Fax: (703) 456-8100                           2001 K Street, NW
    rcahill@cooley.com                            Washington, DC 20006
                                                  Telephone: (202) 223-7300
                                                  Fax: (202) 223-7420
                                                  kdunn@paulweiss.com
                                                  wisaacson@paulweiss.com
                                                  jphillips@paulweiss.com

    Alan Levine (pro hac vice)                    David E. Mills (pro hac vice)
    Philip Bowman (pro hac vice)                  Joshua M. Siegel (VSB 73416)
    COOLEY LLP                                    COOLEY LLP
    1114 Avenue of the Americas, 46th Floor New   1299 Pennsylvania Avenue, NW
    York, NY 10036                                Suite 700
    Telephone: (212) 479-6260                     Washington, DC 20004
    Fax: (212) 479-6275                           Telephone: (202) 842-7800
    alevine@cooley.com                            Fax: (202) 842-7899
    pbowman@cooley.com                            dmills@cooley.com
                                                  jsiegel@cooley.com

    J. Benjamin Rottenborn (VSB 84796)
    WOODS ROGERS PLC
    10 South Jefferson St., Suite 1400
    Roanoke, VA 24011
    Telephone: (540) 983-7600
    Fax: (540) 983-7711
    brottenborn@woodsrogers.com

                                                  Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 12, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Elmer Woodard                                      David L. Campbell
    5661 US Hwy 29                                     Justin Saunders Gravatt
    Blairs, VA 24527                                   Duane, Hauck, Davis & Gravatt, P.C.
    isuecrooks@comcast.net                             100 West Franklin Street, Suite 100
                                                       Richmond, VA 23220
    James E. Kolenich                                  dcampbell@dhdglaw.com
    Kolenich Law Office                                jgravatt@dhdglaw.com
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249                               Counsel for Defendant James A. Fields, Jr.
    jek318@gmail.com

    Counsel for Defendants Jason Kessler, Nathan
    Damigo, Identity Europa, Inc. (Identity
    Evropa), Matthew Parrott, and Traditionalist
    Worker Party

    Bryan Jones                                        William Edward ReBrook, IV
    106 W. South St., Suite 211                        The ReBrook Law Office
    Charlottesville, VA 22902                          6013 Clerkenwell Court
    bryan@bjoneslegal.com                              Burke, VA 22015
                                                       edward@rebrooklaw.com
    Counsel for Defendants Michael Hill, Michael
    Tubbs, and League of the South               Counsel for Defendants Jeff Schoep, National
                                                 Socialist Movement, and Nationalist Front




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          I hereby certify that on August 12, 2021, I also served the following non-ECF participants
   via mail and electronic mail:

    Richard Spencer                                   Christopher Cantwell
    richardbspencer@icloud.com                        Christopher Cantwell 00991-509
    richardbspencer@gmail.com                         USP Marion, 4500 Prison Rd.
                                                      P.O. Box 2000
                                                      Marion, IL 62959

    Vanguard America                                  Robert “Azzmador” Ray
    c/o Dillon Hopper                                 azzmador@gmail.com
    dillon_hopper@protonmail.com

    Elliott Kline a/k/a Eli Mosley                    Matthew Heimbach
    eli.f.mosley@gmail.com                            matthew.w.heimbach@gmail.com
    deplorabletruth@gmail.com
    eli.r.kline@gmail.com


                                                      _________________
                                                      Michael L Bloch (pro hac vice)
                                                      KAPLAN HECKER & FINK LLP

                                                      Counsel for Plaintiffs




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